        Case 3:17-cv-05434-WHO Document 140 Filed 02/03/21 Page 1 of 1




                        UNITED STATES COURT OF APPEALS                     FILED
                               FOR THE NINTH CIRCUIT                        FEB 3 2021
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
WAYNE SKILES, individually and on                No.    20-16570
behalf of all others similarly situated,
                                                 D.C. No. 3:17-cv-05434-WHO
                    Plaintiff-Appellant,         Northern District of California,
                                                 San Francisco
  v.
                                                 ORDER
TESLA, INC., FKA Tesla Motors, Inc.,

                    Defendant-Appellee,

and

EXPERIAN INFORMATION
SOLUTIONS, INC.; et al.,

                    Defendants.

       The parties’ stipulated motion (Docket Entry No. 12) for voluntary dismissal

is granted. This appeal is dismissed. Fed. R. App. P. 42(b).

       Costs and fees shall be allocated pursuant to the parties’ stipulation.

       A copy of this order sent to the district court shall act as and for the mandate

of this court.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT

                                                  By: Lorela Bragado-Sevillena
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7
02-01-2021/Pro Mo
